













NUMBER 13-06-00663-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	

MICHAEL GRANT SANDERS, 	Appellant,


v.



MALIA MAKO POME'E SANDERS,	Appellee. 

	____________________________________________________________


On Appeal from the 117th District Court 


of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Rodriguez and Benavides


Memorandum Opinion Per Curiam	


	The appellant's brief in the above cause was due on August 13, 2008.  On
September 23, 2008, the Clerk of the Court notified appellant that the brief had not been
timely filed and that the appeal was subject to dismissal for want of prosecution under
Texas Rule of Appellate Procedure 38.8(a)(1), unless within ten days from the date of
receipt of this letter, appellant reasonably explained the failure and the appellee was not
significantly injured by the appellant's failure to timely file a brief.  To date, no response has
been received from appellant.  

	Appellant has failed to either reasonably explain his failure to file a brief, file a
motion for extension of time to file his brief, or file his brief.  Accordingly, the appeal is
DISMISSED FOR WANT OF PROSECUTION.  See Tex. R. App. P. 38.8(a), 42.3(b). 

							PER CURIAM


Memorandum Opinion delivered and

filed this the 4th day of December, 2008. 





	


